                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                    CRIMINAL ACTION NO. 3:98-CR-00244-GCM-DSC
 UNITED STATES OF AMERICA,

     v.                                                            ORDER

 REGINALD ANTHONY FALICE,

                  Defendant.


          THIS MATTER comes before the Court on the United States’ Motion to Authorize

Payment from Inmate Trust Account (ECF No. 365). Defendant Reginald Falice filed a response

(ECF No. 367). The matter is now ripe for disposition. For the reasons that follow, the Court will

grant the motion.

          I.     BACKGROUND

          Reginald Falice is a federal inmate serving a life sentence for the shooting of his former

partner. See ECF No. 98 at 1; ECF No. 257 at 3–4. In addition to imprisonment, the Court imposed

restitution in the amount of $8,460.52 and a $200.00 special assessment. ECF No. 98 at 4. To date,

Falice owes $7,660.52 in restitution and $75.00 for the special assessment. After the United States

learned that Falice’s inmate trust account contained $1.182.76, it filed the present motion, seeking

the turnover of $982.76.

          II.    DISCUSSION

          The government identifies a host of statutory provisions that authorize the turnover sought

here. The Crime Victims’ Rights Act (CVRA) provides crime victims with the right to “full and

timely restitution as provided in law.” 18 U.S.C. § 3771(a)(6). It also directs courts to “ensure that




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the crime victim is afforded” that right in any court proceeding involving an offense against a

crime victim. See id. § 3771(b)(1).

       Next, the Mandatory Victims Restitution Act (MVRA) “allows for broad enforcement” of

certain criminal restitution orders, permitting the government to enforce criminal restitution orders

in the same manner as criminal fines. See United States v. Frank, 8 F.4th 320, 326 (4th Cir. 2021).

The mechanics of collection are relatively simple. Upon entry of a criminal judgment, a lien arises

against all of the defendant’s property or rights to property. See id. at 322; 18 U.S.C. § 3613(c).

       Finally, when a person obligated to provide restitution receives substantial resources during

a period of incarceration, that person “shall be required to apply the value of such resources to any

restitution or fine still owed.” 18 U.S.C. § 3664(n). Upon its motion or the motion of any party,

the Court may “adjust the payment schedule, or require immediate payment in full, as the interests

of justice require.” Id. § 3664(k).

       Falice opposes the government’s motion, but his opposition is nearly incomprehensible.

The styling and arguments utilized in the response are suggestive of “sovereign citizen” pleadings.

Falice, for example, treats government actors as corporate entities, the government’s motion as a

“NEW OFFER to do business,” and the criminal case against him as a “contract” that was

“canceled.” See ECF No. 367 at 1; United States v. Mitchell, 405 F. Supp. 2d 602, 605 (D. Md.

2005) (explaining sovereign citizen arguments). Falice’s pleading also employs bizarre

punctuation typical of sovereign citizens. See Meads v. Meads, 2012 ABQB 571 at ¶ 206 (Can.

Sept. 18, 2012) (explaining that litigants who use dashes and colons in their name “almost certainly

[have] some kind of [sovereign citizen] background or affiliation.”).

       As far as the Court can tell, Falice appears to claim that the Court is without jurisdiction

because this is a child custody proceeding. See ECF No. 367-1 at 1. As should be obvious, this is




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not a child custody proceeding. The Court has jurisdiction over a claim for restitution ordered as

part of a federal criminal sentence under Title 18 of the United States Code. Falice’s arguments

are frivolous, and the Court rejects them entirely.

       Based on the foregoing, the Court concludes that the government’s motion should be

granted. Restitution in this case was to be paid “in full immediately.” ECF No. 98 at 5. The funds

at issue currently are in the Government's possession and the Government has a valid lien over this

property. Further, because the property at issue is cash, it does not fall within any applicable

categories of the exempt property that a defendant may claim in a criminal case. See 18 U.S.C. §

3613(a)(1) (setting forth the applicable IRS property exemptions for criminal cases). Finally, as

the government argues, the funds at issue “may represent the best chance for significant recovery,”

given Falice’s lengthy term of imprisonment. ECF No. 365-1 at 6.

       III.    ORDER

       IT IS THEREFORE ORDERED that the government’s Motion to Authorize Payment

from Inmate Trust Account (ECF No. 365) is GRANTED. The Bureau of Prisons is directed to

TURN OVER $982.76 of the funds held in Falice’s inmate trust account to the Clerk of Court, to

be used for payment of restitution obligations.

       SO ORDERED.

                                             Signed: November 30, 2021




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